                                                                                                                                                                                      Print Form
      FILED                                             UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT
                                     Case 4:18-cv-00817-O Document 50 Filed 06/03/21 Page 1 of 1 PageID 1022
     June 3, 2021                           ORIGINAL            BILL OF COSTS       4:18-CV-817-O
  KAREN MITCHELL
CLERK, U.S. DISTRICT                  NOTE: The Bill of Costs is due in this office within 14 days from the date of the
                                      opinion, See FED . R. APP. P. & 5T H CIR . R. 39. Untimely bills of costs must be
      COURT




                                                                                                                                                                                              Case: 19-11327
                                      accompanied by a separate motion to file out of time, which the court may deny.

   Diane Haddock
   _______________________________________________    Tarrant County, et al.
                                                   v. __________________________________________     19-11327
                                                                                                 No. _____________________
                                                              Plaintiff-Appellant
   The Clerk is requested to tax the following costs against: _________________________________________________________________________________________


    COSTS TAXABLE UNDER                                                REQUESTED                                                                  ALLOW ED




                                                                                                                                                                                              Document: 00515886358
   Fed. R. App. P. & 5 th Cir. R. 39                                                                                                (If different from amount requested)

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  Docket Fee




                                                                                                                                                                                                        00515748061
                                                                                                                                                                                                        00515749106
  Appendix or Record Excerpts

  Appellant’s Brief

  Appellee’s Brief                                  7                  63                0.15            66.15               7                  63                 .15            66.15
  Appellant’s Reply Brief




                                                                                                                                                                                              Page: 1
  Other:


                                                                                           66.15
                                                                                  Total $ ________________                                                         66.15
                                                                                                                            Costs are taxed in the amount of $ _______________




                                                                                                                                                                                              Date Filed: 06/03/2021
                                              66.15
  Costs are hereby taxed in the amount of $ _______________________ this ________________________________ day of __________________________, ___________.

                                                                                                                                 LYLE W.CA Y C E , C LERK
 State of




                                                                                                                                                                                                          02/18/2021
 County of _________________________________________________                                                                     By ____________________________________________
                                                                                                                                                    Deputy Clerk

              Lanora Pettit
           I _____________________________________________________________,             do hereby swear under penalty of perjury that the services for which fees have been charged were
           incurred in this action and that the services for which fees have been charged were actually and necessarily performed. A copy of this Bill of Costs was this day mailed to
                                                                         9th
           opposing counsel, with postage fully prepaid thereon. This _______________             February
                                                                                          day of ________________________________,      2021
                                                                                                                                        ______________.

                                                                                                            \s\ Lanora Pettit
                                                                                                           _____________________________________________________________________
                                                                                                                                        (Signature)
 *SEE REVERSE SIDE FOR RULES
 GOVERNING TAXATION OF COSTS                                                                                                     Defendants-Appellees
                                                                                                                    Attorney for __________________________________________
